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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES ET AL.                         :      Case No. 3:17-CV-72

                  Plaintiff                         :      Judge MOON


                                                    :
           -v-

     JASON KESSLER ET AL.                           :

                                                    :
                  Defendants



                        SECOND MOTION TO WITHDRAW AS COUNSEL



           Now come undersigned Counsel and move to withdraw as Attorneys for

     defendants Robert Ray and Matthew Heimbach.



                                             Respectfully Submitted,


                                             s/ Elmer Woodard
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                                                  Defendants

                                    CERTIFICATE OF SERVICE

        I hereby certify this Notice and all accompanying documents were served via the
        Court’s ECF system on November 5, 2018 upon:

        All parties of record. No party is entitled to or has requested service by other means
        except as listed below.

        Mr. Robert Ray via electronic mail at REDACTED.
        Mr. Matthew Heimbach via electronic mail at REDACTED.


                                                          s/ James E. Kolenich

                                                          J. Kolenich (77084)




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